
356 S.E.2d 776 (1987)
Marvin W. GRIFFIN
v.
The BOARD OF COMMISSIONERS OF the LAW ENFORCEMENT OFFICERS' BENEFIT AND RETIREMENT FUND.
No. 143P87.
Supreme Court of North Carolina.
June 2, 1987.
Boyle, Alexander, Hord &amp; Smith, Charlotte, for plaintiff.
*777 Norma S. Harrell, Asst. Atty. Gen., Raleigh, for defendant.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiff in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the Defendant; and upon consideration of the petition for discretionary review of the decision of the North Carolina Court of Appeals, filed by Plaintiff pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 2nd day of June 1987."
The Petition for Discretionary Review is:
"Denied by order of the Court in conference, this the 2nd day of June 1987."
